Case 8:18-cv-00690-EAK-TGW Document 16 Filed 05/23/18 Page 1 of 13 PageID 79




                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

   PAULA FOOTE, et al.
                          Plaintiff(s),
   vs.                                              Civil Action No. 8:18-cv-00690-EAK-TGW
   HEALTH INSURANCE
   INNOVATIONS, INC., et al.
                          Defendant(s).


         DEFENDANT HEALTH INSURANCE INNOVATIONS, INC.’S ANSWER
         AND AFFIRMATIVE DEFENSES TO PLAINTIFFS’ FIRST AMENDED
                       CLASS ACTION COMPLAINT

          Defendant, Health Insurance Innovations, Inc. (“HII”), by and through the

   undersigned counsel, hereby files this Answer and Affirmative Defenses and responds to the

   First Amended Class Action Complaint (Doc. #10) filed by Plaintiffs, Paula Foote, Terry

   Fabricant, Sidney Naiman, and Lucy Alsuliman, individually and on behalf of others

   similarly situated, and says and alleges as follows:

                                               ANSWER

                                           Nature of the Case

          1.      Denies the allegations set forth in paragraph 1 of the First Amended Class

   Action Complaint.

                                          Jurisdiction & Venue

          2.      Denies the allegations set forth in paragraph 2 of the First Amended Class

   Action Complaint.

          3.      Admits that venue is proper in this District, and denies each and every other

   allegation set forth in paragraph 3 of the First Amended Class Action Complaint.
Case 8:18-cv-00690-EAK-TGW Document 16 Filed 05/23/18 Page 2 of 13 PageID 80




                                             Parties

          4.     Denies for want of knowledge or information sufficient to form a belief as to

   truth or accuracy of the allegations set forth in paragraph 4 of the First Amended Class

   Action Complaint.

          5.     Denies for want of knowledge or information sufficient to form a belief as to

   truth or accuracy of the allegations set forth in paragraph 5 of the First Amended Class

   Action Complaint.

          6.     Denies for want of knowledge or information sufficient to form a belief as to

   truth or accuracy of the allegations set forth in paragraph 6 of the First Amended Class

   Action Complaint.

          7.     Denies for want of knowledge or information sufficient to form a belief as to

   truth or accuracy of the allegations set forth in paragraph 7 of the First Amended Class

   Action Complaint.

          8.     States that HII is a distributor and cloud-based administrator of individual and

   family health insurance plans, but denies each and every other allegation set forth in

   paragraph 8 of the First Amended Class Action Complaint.

          9.     Denies the allegations set forth in paragraph 9 of the First Amended Class

   Action Complaint.

          10.    Denies the allegations set forth in paragraph 10 of the First Amended Class

   Action Complaint.




                                                2
Case 8:18-cv-00690-EAK-TGW Document 16 Filed 05/23/18 Page 3 of 13 PageID 81




                                      Factual Allegations

          11.    Denies the allegations set forth in paragraph 11 of the First Amended Class

   Action Complaint.

          12.    Denies the allegations set forth in paragraph 12 of the First Amended Class

   Action Complaint.

          13.    Denies the allegations set forth in paragraph 13 of the First Amended Class

   Action Complaint.

          14.    Denies for want of knowledge or information sufficient to form a belief as to

   truth or accuracy of the allegations set forth in paragraph 14 of the First Amended Class

   Action Complaint.

          15.    Denies for want of knowledge or information sufficient to form a belief as to

   truth or accuracy of the allegations set forth in paragraph 15 of the First Amended Class

   Action Complaint.

          16.    Denies the allegations set forth in paragraph 16 of the First Amended Class

   Action Complaint.

          17.    Denies the allegations set forth in paragraph 17 of the First Amended Class

   Action Complaint.

          18.    Denies the allegations set forth in paragraph 18 of the First Amended Class

   Action Complaint.

          19.    Denies the allegations set forth in paragraph 19 of the First Amended Class

   Action Complaint.




                                               3
Case 8:18-cv-00690-EAK-TGW Document 16 Filed 05/23/18 Page 4 of 13 PageID 82




          20.    Denies for want of knowledge or information sufficient to form a belief as to

   truth or accuracy of the allegations set forth in paragraph 20 of the First Amended Class

   Action Complaint.

          21.    Denies the allegations set forth in paragraph 21 of the First Amended Class

   Action Complaint.

          22.    Denies the allegations set forth in paragraph 22 of the First Amended Class

   Action Complaint.

          23.    Denies the allegations set forth in paragraph 23 of the First Amended Class

   Action Complaint.

          24.    Denies the allegations set forth in paragraph 24 of the First Amended Class

   Action Complaint.

          25.    Denies the allegations set forth in paragraph 25 of the First Amended Class

   Action Complaint.

                                   Class Action Allegations

          26.    Denies the allegations set forth in paragraph 26 of the First Amended Class

   Action Complaint.

          27.    Denies the allegations set forth in paragraph 27 of the First Amended Class

   Action Complaint.

          28.    Denies the allegations set forth in paragraph 28 of the First Amended Class

   Action Complaint.

          29.    Denies the allegations set forth in paragraph 29 of the First Amended Class

   Action Complaint.




                                               4
Case 8:18-cv-00690-EAK-TGW Document 16 Filed 05/23/18 Page 5 of 13 PageID 83




         30.    Denies the allegations set forth in paragraph 30 of the First Amended Class

   Action Complaint.

         31.    Denies the allegations set forth in paragraph 31 of the First Amended Class

   Action Complaint.

         32.    Denies the allegations set forth in paragraph 32 of the First Amended Class

   Action Complaint.

         33.    Denies the allegations set forth in paragraph 33 of the First Amended Class

   Action Complaint.

         34.    Denies the allegations set forth in paragraph 34 of the First Amended Class

   Action Complaint.

         35.    Denies the allegations set forth in paragraph 35 of the First Amended Class

   Action Complaint.

         36.    Denies the allegations set forth in paragraph 36 of the First Amended Class

   Action Complaint.

         37.    Denies the allegations set forth in paragraph 37 of the First Amended Class

   Action Complaint.

         38.    Denies the allegations set forth in paragraph 38 of the First Amended Class

   Action Complaint.

         39.    Denies the allegations set forth in paragraph 39 of the First Amended Class

   Action Complaint.

         40.    Denies the allegations set forth in paragraph 40 of the First Amended Class

   Action Complaint.




                                             5
Case 8:18-cv-00690-EAK-TGW Document 16 Filed 05/23/18 Page 6 of 13 PageID 84




          41.    Denies the allegations set forth in paragraph 41 of the First Amended Class

   Action Complaint.

          42.    Denies the allegations set forth in paragraph 42 of the First Amended Class

   Action Complaint.

                                     First Cause of Action
                Negligent Violations of the Telephone Consumer Protection Act
                                       47 U.S.C. § 227(b)
                                 On Behalf of the ATDS Class

          43.    Incorporates the responses to all of the paragraphs set forth above, as

   realleged in paragraph 43 of the First Amended Class Action Complaint.

          44.    Denies the allegations set forth in paragraph 44 of the First Amended Class

   Action Complaint.

          45.    Denies the allegations set forth in paragraph 45 of the First Amended Class

   Action Complaint.

          46.    Denies the allegations set forth in paragraph 46 of the First Amended Class

   Action Complaint.

                                 Second Cause of Action
        Knowing and/or Willful Violations of the Telephone Consumer Protection Act
                                    47 U.S.C. § 227(b)
                               On Behalf of the ATDS Class

          47.    Incorporates the responses to all of the paragraphs set forth above, as

   realleged in paragraph 47 of the First Amended Class Action Complaint.

          48.    Denies the allegations set forth in paragraph 48 of the First Amended Class

   Action Complaint.




                                               6
Case 8:18-cv-00690-EAK-TGW Document 16 Filed 05/23/18 Page 7 of 13 PageID 85




          49.    Denies the allegations set forth in paragraph 49 of the First Amended Class

   Action Complaint.

          50.    Denies the allegations set forth in paragraph 50 of the First Amended Class

   Action Complaint.

                                     Third Cause of Action
                Negligent Violations of the Telephone Consumer Protection Act
                                       47 U.S.C. § 227(c)
                                  On Behalf of the DNC Class

          51.    Incorporates the responses to all of the paragraphs set forth above, as

   realleged in paragraph 51 of the First Amended Class Action Complaint.

          52.    Denies the allegations set forth in paragraph 52 of the First Amended Class

   Action Complaint.

          53.    Denies the allegations set forth in paragraph 53 of the First Amended Class

   Action Complaint.

          54.    Denies the allegations set forth in paragraph 54 of the First Amended Class

   Action Complaint.

                                 Fourth Cause of Action
        Knowing and/or Willful Violations of the Telephone Consumer Protection Act
                                  47 U.S.C. § 227 et seq.
                               On Behalf of the DNC Class

          55.    Incorporates the responses to all of the paragraphs set forth above, as

   realleged in paragraph 55 of the First Amended Class Action Complaint.

          56.    Denies the allegations set forth in paragraph 56 of the First Amended Class

   Action Complaint.




                                               7
Case 8:18-cv-00690-EAK-TGW Document 16 Filed 05/23/18 Page 8 of 13 PageID 86




          57.       Denies the allegations set forth in paragraph 57 of the First Amended Class

   Action Complaint.

          58.       Denies the allegations set forth in paragraph 58 of the First Amended Class

   Action Complaint.

                                          General Response

          59.       Denies each and every allegation in the First Amended Class Action

   Complaint not specifically admitted, denied, controverted or otherwise addressed above.

                                   AFFIRMATIVE DEFENSES

          HII asserts the following affirmative defenses without altering Plaintiffs’ burden of

   proof on any of the issues in this action.

                                     First Affirmative Defense

          The First Amended Class Action Complaint, in whole and material part, fails to state

   any plausible claim upon which relief may be granted because the statutory penalties sought

   are prohibited by law including the Due Process Clauses of the Florida and U.S.

   Constitutions.

                                    Second Affirmative Defense

          No act or omission by HII caused any compensable injury, and any compensable

   injury sustained was caused by the acts and omissions of others, including third parties over

   which HII had and has no control over, and/or by the acts or omissions of Plaintiffs.

                                     Third Affirmative Defense

          The claims asserted in the First Amended Class Action Complaint are barred, in

   whole and material part, by the statute of limitations.




                                                   8
Case 8:18-cv-00690-EAK-TGW Document 16 Filed 05/23/18 Page 9 of 13 PageID 87




                                     Fourth Affirmative Defense

              HII’s actions, practices and procedures were reasonable and taken in good faith and

   with the well-founded belief that such conduct was at all times in compliance with applicable

   laws, rules and regulations. To the extent that any conduct alleged in the First Amended

   Class Action Complaint may be actionable, such conduct was unintentional and occurred

   despite HII’s reasonable good-faith efforts to be compliant.

                                       Fifth Affirmative Defense

              The telephone calls that are the subject of the First Amended Class Action Complaint

   were encouraged, invited, and initiated by consent, and/or made in the context of an

   established business relationship.

                                      Sixth Affirmative Defense

              The claims for damages, including treble damages, in the First Amended Class Action

   Complaint are barred as HII did not knowingly or willfully make the alleged telephone calls

   in violation of the TCPA.

                                     Seventh Affirmative Defense

              The First Amended Class Action Complaint fails to join necessary and indispensable

   parties.

                                      Eighth Affirmative Defense

              Any acts or omissions by persons other than HII, which form the basis of the claims

   asserted in the First Amended Class Action Complaint, occurred without HII’s knowledge,

   authorization, consent, ratification or approval.




                                                   9
Case 8:18-cv-00690-EAK-TGW Document 16 Filed 05/23/18 Page 10 of 13 PageID 88




                                     Ninth Affirmative Defense

          Any damages sought can only be predicated upon the intervening and superseding

   conduct or omissions of third parties and persons other than HII.

                                    Tenth Affirmative Defense

          The failure to exercise reasonable care and diligence caused or contributed to any

   alleged injury or damages, and any recovery must therefore be eliminated or reduced

   proportionately.

                                   Eleventh Affirmative Defense

          There has been a failure to take reasonable measures to mitigate and compensable

   injury sustained.

                                   Twelfth Affirmative Defense

          For all telephone calls that are the subject of the First Amended Class Action

   Complaint, consent was received.

                                  Thirteenth Affirmative Defense

          The claims asserted in the First Amended Class Action Complaint are barred, in

   whole and material part, by the doctrines of waiver, estoppel, ratification, laches, and release.

                                  Fourteenth Affirmative Defense

          Any legal duties owed based upon the allegations in the First Amended Class Action

   Complaint have been fully performed, satisfied or waived.

                                   Fifteenth Affirmative Defense

          Any claim for damages must be set off by Plaintiffs’ inequitable and wrongful

   conduct.




                                                  10
Case 8:18-cv-00690-EAK-TGW Document 16 Filed 05/23/18 Page 11 of 13 PageID 89




                                   Sixteenth Affirmative Defense

           Plaintiffs fail to state a plausible cause of action for class relief pursuant to Federal

   Rule of Civil Procedure 23 in that, among other things, the claims Plaintiffs seek to assert

   cannot be common or typical of the claims of the putative class, nor is class relief superior to

   other available methods for fairly and efficiently adjudicating the claims Plaintiffs attempts

   to assert.

                                 Seventeenth Affirmative Defense

           Plaintiffs’ claims are barred by the doctrine of unclean hands as Plaintiffs are

   pursuing this litigation as a class action, not to seek compensation for damages allegedly

   suffered, as contemplated by statute, but to enrich themselves by seeking disproportionate

   payments from HII.

                                  Eighteenth Affirmative Defense

           Plaintiffs did not sustain any damages. To the extent Plaintiffs sustained any

   damages, such damages are de minimus and non-actionable, and any such damages are not

   representative and/or the same as the putative class members Plaintiffs seek to represent.


                                  Nineteenth Affirmative Defense

           A settlement and release bars some of the claims asserted.


                                      PRAYER FOR RELIEF

           WHEREFORE, having fully answered or otherwise responded to the allegations set

   forth in the First Amended Class Action Complaint, Defendant, Health Insurance

   Innovations, Inc., hereby demands judgment in favor of Defendant, Health Insurance




                                                  11
Case 8:18-cv-00690-EAK-TGW Document 16 Filed 05/23/18 Page 12 of 13 PageID 90




   Innovations, Inc., that: (i) Plaintiffs take nothing by way of the claims asserted in the First

   Amended Class Action Complaint; (ii) this action be dismissed in its entirety, with prejudice;

   (iii) attorneys’ fees and costs incurred in this action should be awarded to Defendant, Health

   Insurance Innovations, Inc., and; (iv) other and further relief be awarded as the Court may

   deem just and proper.


                                   DEMAND FOR JURY TRIAL

          Defendant, Health Insurance Innovations, Inc., demands a jury trial on all issues in

   this action triable by a jury as a matter of right pursuant to Fed. R. Civ. P. 38.

                                   RESERVATION OF RIGHTS

          Defendant, Health Insurance Innovations, Inc., reserves the right, upon further

   investigation and discovery, to assert such additional defenses and/or claims and join such

   additional responsible parties as may be just and appropriate.




   Dated: May 23, 2018
                                              By: s/ Garry W. O’Donnell
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                                                 Insurance Innovations, Inc.




                                                   12
Case 8:18-cv-00690-EAK-TGW Document 16 Filed 05/23/18 Page 13 of 13 PageID 91




                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that the foregoing document was filed with the Clerk of Court

   using the Court’s CM/ECF system on this 23rd day of May, 2018, which will generate

   notification to all counsel of record or pro se parties identified below, thereby notifying the

   following parties of record below:


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                                                 13
